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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION



DANIEL J. KASSA,

            Plaintiff,

v.                                                     Cv. No.: 12-2235-JTF


THOMAS & BETTS CORPORATION,
MICHAEL L. DUCKER, JEANANNE K. HAUSWALD,
DEAN JERNIGAN, RONALD B. KALICH, SR.,
KENNETH R. MASTERSON, DOMINIC J. PILEGGI,
JEAN-PAUL RICHARD, RUFUS H. RIVERS,
KEVIN L. ROBERG, DAVID D. STEVENS, ABB LTD.,
EDISON ACQUISITION CORPORATION,


             Defendants.


                               JUDGMENT

     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

     IT IS ORDERED AND ADJUDGED that this action is dismissed without
prejudice in accordance with the Order Granting Voluntary Dismissal
Without Prejudice entered on May 21, 2013.



APPROVED:

s/John T. Fowlkes, Jr.
JOHN T. FOWLKES, JR.
UNITED STATES DISTRICT JUDGE

August 28, 2013                            THOMAS M. GOULD
DATE                                       CLERK
                                           s/Lorri Fentress
                                           (By) LAW CLERK
